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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 MICHAEL GREENE,                                   No. 4:19-CV-00024

              Petitioner,                          (Judge Brann)

       v.

 WARDEN, et al.,

              Respondents.

                                      ORDER

                                 JANUARY 11, 2021

      AND NOW, upon consideration of the Court’s order to show cause and

Petitioner’s failure to respond thereto, the amended petition for writ of habeas corpus

brought pursuant to 28 U.S.C. § 2254 is DISMISSED AS MOOT and the Clerk of

Court shall CLOSE this matter.




                                              BY THE COURT:


                                              s/ Matthew W. Brann
                                              Matthew W. Brann
                                              United States District Judge
